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Matthew G. Jacobs
Downey Brand LLP
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(916) 444-1000

               UNITED STATES DISTRIC COURT, EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                             CASE NUMBER:

                                                Plaintiff(s)                          S-02-0079-FCD
v.

DARRA PANTHAKY and WESLEY SINE

                                                Defendant(s).                                 SUBSTITUTION OF ATTORNEY


          Wesley Sine                                               Plaintiff         X   Defendant                    Other _________________
                        Name of Party

hereby substitutes                             DLA Piper Rudnick Gray Cary LLP                                                                               who is
                                                                  Street Address
 X     Retained Counsel                      Court Appointed Counsel                      In Pro Per                   400 Capitol Mall, Ste., 2400
                                                                                                                                     Street Address
          Sacramento, CA 95814                            (916) 930-3200                                 (916) 930-3201                        122066
               City, State, ZIP Code                        Telephone Number                             Facsimile Number                     State Bar Number

as attorney of record in place and stead of                         Downey Brand LLP
                                                                                          Present Attorney


Dated: June           17, 2005                                                     /s/ Wesley Sine (Original signature retained by Matthew Jacobs)
                                                                                                             Signature of Party
                                                                                             Wesley Sine
I have given proper notice pursuant to Local Rule 83-2.9.2 and further consent to the above substitution.


Dated: June           17, 2005                                                               /s/ Rhonda C. Canby
                                                                                                         Signature of Present Attorney
                                                                                             Downey Brand LLP
I am duly admitted to practice in the District pursuant to Local Rule 83-2-8.

Dated: June           20, 2005                                                               /s/ Matthew G. Jacobs
                                                                                                             Signature of New Attorney

                                                                                             DLA Piper Rudnick Gray Cary LLP

Substitution of Attorney is hereby granted.                      Approved.                 Denied.

Dated: June 24, 2005                                                                         /s/ Frank C. Damrell Jr.
                                                                                             United States District Judge

NOTICE TO COUNSEL: If you are currently enrolled in the Optical Scanning Program and have changed your facsimile number or e-mail address
                                       since your enrollment, you must complete Enrollment/Update Form G-76 to ensure that documents are served at the proper
                                       facsimile or e-mail address. This form, as well as information about the Optical Scanning Program is available on the
                                       Court’s website at www.csed.uscourts.gov.


                                                    SUBSTITUTION OF ATTORNEY
G-01 (08/02)                                                                                                                                                     G01
